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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

       D.K., Individually and as              §
       Next Friend of B.C.,                   §
                                              §
          Plaintiff,                          §
                                              §
       v.                                     §                   2:23-CV-25
                                              §
       TAD PSHIGODA, M.S., J.C.,              §
       RAGAN WATSON, Individually and         §
       in his Official Capacity as a Coach of §
       PERRYTON INDEPENDENT SCHOOL DISTRICT, §
       and PERRYTON INDEPENDENT               §
       SCHOOL DISTRICT,                       §
                                              §
          Defendants.                         §

                                      ORIGINAL COMPLAINT

       Plaintiff D.K., individually and as next friend of B.C., Plaintiff’s minor son, through her

attorneys of record the Marsh Law Firm PLLC and Stockard, Johnston, Brown, Netardus, & Doyle,

P.C., files this Original Complaint and pleads the following:

                                 I.   NATURE OF ACTION

       1.      On or about February 21, 2021, in a Perryton High School (“PHS”) locker room,

PHS basketball player Defendant Tad Pshigoda sexually assaulted teammate B.C. three times.

Defendant Ragan Watson, a coach (“Coach Watson”), was present and able to stop the abuse, but

did nothing. Most, if not all, of the members of the basketball team were also present and cheered

Defendant Pshigoda on as he perpetrated the premeditated sexual assaults. Two PHS basketball

players, Defendants M.S. and J.C., working in coordination with Defendant Pshigoda, videotaped

the sexual assaults on their smartphones. Defendant M.S. or Defendant J.C. or both posted the

videos on snapchat. Defendant Pshigoda pleaded guilty to assault with bodily harm.
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       2.      Defendant Perryton Independent School District (“PISD”) learned of the incident

by at least June 2021. Upon learning of the incident, Defendant PISD was obligated to investigate

and take action to sanction those responsible, and to assist B.C. with his recovery. Rather,

Defendant PISD chose to sweep the grievous criminal behavior under the rug, treating it as

common roughhousing among boys. Defendant PISD failed to discipline the culpable boys

involved in any meaningful way, and then undertook a mean-spirited and illegal scheme to retaliate

against B.C. and his family, ostracizing and blackballing them. This retaliation culminated in the

late summer of 2022, when the PISD board of trustees denied B.C.’s and his younger brother’s

applications to remain PISD transfer students in the 2022−2023 school year. Both brothers had

stellar academic performances, unblemished disciplinary records, good attendance records, and

the support of teachers and administrators who knew them best, making the retaliatory motive for

the denials obvious.

       3.      The acts and omission averred herein paint an ugly picture and ground five claims

for relief: (1) common law assault against Defendant Pshigoda; (2) production of child

pornography in violation of 18 U.S.C. Section 2255 against Defendants Pshigoda, M.S., J.C., and

Coach Watson (“Section 2255” or “Child Sex Abuse Claims”); (3) distribution of child

pornography in violation of 18 U.S.C. section 2255 against Defendants M.S. and J.C.; (4) violation

of Title IX against Defendant PISD for failing to provide equal opportunity in education to B.C.;

and (5) Title IX retaliation against Defendant PISD.

       4.      Plaintiff brings this action to obtain some semblance of justice, and to compel

Defendant PISD to change its policies and practices to prevent such criminal conduct from

occurring again.




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                             II.    JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over the child pornography claims and

Title IX claims pursuant to 28 U.S.C. Section 1331 because those claims arise under the laws of

the United States. Plaintiff further invokes the Court’s pendent jurisdiction pursuant to 28 U.S.C.

Section 1367 over the assault claim.

        6.      Venue is proper pursuant to 28 U.S.C. Section 1391(b) because all Defendants

reside in this judicial district and are residents of the State of Texas, and because all or a substantial

part of the events or omissions giving rise to the claims occurred in this judicial district.

        7.      Defendant PISD was given notice of the Title IX claim in June 2021 and of the

Title IX claim (again) and the Title IX retaliation claim on January 3, 2023, thus satisfying the

“notice of claim” requirement for suing a Texas school district.

                                    III.     TRIAL BY JURY

        8.      Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury on

all claims and issues.

                                           IV.   PARTIES

        9.      Plaintiff D.K., the next friend of B.C., is B.C.’s mother. B.C., a minor, is 17 years

old. D.K. and B.C. reside in the Northern District of Texas. D.K. and B.C. are Texas citizens.

        10.     Defendant Tad Pshigoda resides approximately ten miles southwest of Perryton,

Texas and is a Texas citizen.

        11.     Defendant M.S. is a minor approximately 17 years old and resides in Perryton,

Texas. Defendant M.S. is a Texas citizen.

        12.     Defendant J.C. is a minor, approximately 17 years old and resides in Perryton,

Texas. Defendant J.C. is a Texas citizen.




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        13.        Defendant Coach Watson resides in La Grange, Texas and is a Texas citizen.

        14.        Defendant PISD is a Texas school district located in Perryton, Texas.

                                V.     FACTUAL ALLEGATIONS

    A. PISD Has a Policy, Practice, and Culture of Allowing and Condoning Sexual Hazing
       of Student Athletes.

        15.        During the investigation of the sexual hazing incidents detailed herein, multiple

witnesses, including Defendant Pshigoda and his father, admitted sexual hazing has been routine

in the PISD Athletic Department for several decades.

    B. B.C. Transfers to PISD.

        16.        In the late summer of 2019, B.C. transferred to PISD from Booker Independent

School District. In 2020, B.C.’s younger brother transferred to PISD. Both boys were exceptionally

good students and transferred to take advantage of the better academic opportunities a larger school

district offers.

    C. Repeated Sexual Assault by a Teammate in the Locker Room, of which a Coach Had
       Full Knowledge, and which Other Teammates Encouraged.

        17.        B.C. was in eighth grade when he entered PISD. The following year, as a freshman,

he played on the varsity and junior varsity basketball teams.

        18.        First Sexual Assault—On February 21, 2021, after basketball practice, B.C. was

shooting baskets in the school gym. The rest of the team was in the locker room. Several of B.C.’s

teammates came out to the gym and repeatedly and persistently urged B.C. to come into the locker

room. B.C. was apprehensive, but eventually agreed. As B.C. approached the locker room, he saw

the team had formed a tunnel into the locker room. Assistant football coach Defendant Ragan

Watson was standing at the front of the tunnel with a smirking smile on his face.




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        19.    Once in the locker room, several teammates tackled B.C. Defendant Pshigoda

dragged B.C. to the corner of the locker room, pinned B.C. on his back, and straddled B.C. at his

upper chest. Defendant Pshigoda then began thrusting his crotch in a violent humping motion into

B.C.’s face. Team members cheered Defendant Pshigoda on as he sexually assaulted B.C.

        20.    Defendant Coach Watson was present and watched the sexual assault, a fact

confirmed by Athletic Director head football coach Kurt Haberthur (“AD Haberthur”) in several

post-incident meetings with B.C.’s parents and in another with B.C. alone. Defendant Coach

Watson did nothing to prevent or stop the sexual assault.

        21.    Second Sexual Assault—Approximately ten to fifteen minutes after the first sexual

assault ended, B.C. was on his hands and knees cleaning candy and paper off the locker room floor

from the breaking of a pinata. B.C. was wearing gym shorts. As B.C. was finishing the cleanup,

Defendant Pshigoda nodded to Defendant M.S. to begin recording the assault on a smartphone.

Defendant Pshigoda then approached B.C. from behind and shoved the pinata stick into B.C.’s

anus through B.C.’s gym shorts. B.C. lunged forward to avoid further penetration and screamed

“No.”

        22.    Third Sexual Assault—B.C. got dressed. As B.C. was leaving the locker room,

Defendant Pshigoda again approached him from behind with the pinata stick. This time, Defendant

Pshigoda pulled B.C.’s sweatshirt up and violently rammed the stick down the back of B.C.’s

jeans, while shoving B.C. to the ground. Defendant Pshigoda’s butt landed on B.C.’s head,

smashing B.C.’s head against the concrete floor. B.C. and Defendant Pshigoda wrestled for a few

moments, until Defendant Pshigoda placed B.C. into a frontal headlock. Defendant Pshigoda told

B.C. to “tap out,” the sign of surrender, which B.C. ultimately did.




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   D. The Posting of Videos of the Sexual Assaults on Social-Media.

         23.   Defendant M.S. recorded the first and second sexual assaults on his cellphone.

Defendant J.C. recorded the third sexual assault on his cellphone. Defendant M.S. and/or

Defendant J.C. shared the videos on Snapchat with boys on the junior varsity and varsity basketball

team. To date, the videos remain published and accessible in the basketball team’s Snapchat

group.

         24.   These videos constitute child pornography as defined by applicable law. The

production and distribution of these videos violate several criminal child sex abuse statutes, which

are predicates for a civil claim against Defendants Pshigoda, M.S., J.C., and Coach Watson

pursuant to United States Code Title 18, Section 2255. Under section 2255, a plaintiff is entitled,

at a minimum, to $150,000 liquidated damages from each defendant, as well as attorney fees, and

costs.

   E. The Dramatic Change in B.C.’s Demeanor and Behavior and His Parents’ Discovery
      of the Sexual Assaults.

         25.   B.C.’s parents knew nothing of the sexual assaults for several months. However,

Plaintiff and her husband did notice a dramatic change in B.C.’s demeanor and personality. B.C.

slept much more than usual and secluded himself in his room. B.C.’s interest in sports (his usual

passion) waned, and he no longer kept his room clean and tidy. B.C. became rebellious and defiant.

B.C. refused to talk about the changes in his demeanor and personality.

         26.   On or about May 2, Plaintiff scrolled through B.C.’s cellphone looking for insight

and discovered videos of two of the sexual assaults.

         27.   B.C. pleaded with his parents not to tell the school because he did not want to be

labeled a snitch or blackballed. B.C.’s parents were also afraid of what the fallout might be if they

shared what they knew. For several weeks, neither B.C. nor his parents told anyone.



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   F. B.C.’s Parents’ June 2021 Meeting with the Pshigodas.

          28.   On or about June 24, Brian Pshigoda, Defendant Pshigoda’s father, called B.C.’s

father and asked to meet. During the call, Mr. Pshigoda attempted to extort B.C.’s father, stating

that he had unspecified “dirt” on B.C. he could make public if needed.

          29.   On or about June 27, B.C. and his parents met with Defendant Pshigoda and his

parents. In this meeting, the Pshigodas downplayed the seriousness of the three sexual assaults,

saying it was just “boys being boys.” Mr. Pshigoda told B.C. and his parents this sort of thing

happened when he attended PISD, and Defendant Pshigoda said the same and worse had happened

to him.

          30.   In later interviews with the Perryton Police Department, Defendant Pshigoda and

teammate Levi Stevens confirmed that assaults of this type or worse have routinely occurred in

the PHS locker rooms.

   G. June 2021 Notice to PSID of the Sexual Assaults.

          31.   Two days before meeting with B.C. and his parents, the Pshigodas had reported the

sexual assaults to AD Haberthur, but did not inform B.C’s parents or B.C. of this in the meeting.

Thus, B.C. and his parents were surprised when on, June 28th, the day after meeting with the

Pshigodas, High School Principal Ross Sproul (“Principal Sproul”) called Plaintiff to share what

he knew about the sexual assaults and inform her that he was in possession of two of the assault

videos.

          32.   Although Defendant PISD, as a mandatory reporter, is legally obligated to report

child sexual abuse within 48 hours of notice (Tex. Fam. Code Ann. Sec. 261.1010(b)), it delayed

reporting the sexual assaults almost four weeks. Defendant PISD also failed to report Defendant




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Coach Watson’s involvement to the Texas Education Agency (“TEA”), as it was legally obligated

to do. See Tex. Fam. Code Ann. § 261.101(b).

       33.     On information and belief, Defendant Coach Watson has never been investigated

or disciplined by the TEA, and he continues teaching and coaching in La Grange, Texas.

   H. Criminal Investigation and Guilty Plea of Defendant Pshigoda.

       34.     In July and August 2021, the Perryton Police Department investigated the sexual

assaults, interviewing numerous people, including B.C. and Defendants Pshigoda and M.S. Not

everyone interviewed cooperated; Investigating Officer Sergeant J. Ortiz terminated the interview

of PISD school board member Ramon Vela (“School Board Member Vela”) and his son for

“obvious lack of cooperation.” (See Perryton Police Department Offense/Incident Report (“Police

Report”) attached hereto). School Board Member Vela attended PHS with Mr. Pshigoda and AD

Haberthur.

       35.     Following his investigation, Sergeant Ortiz recommended Defendants Pshigoda

and M.S. be charged with the offense of Hazing, Texas Education Code Section 37.152, “due to

the intentional, knowing, or reckless act, occurring on campus of an educational institution and the

physical brutality encouraged, aided, and directed against a student that they are affiliated with.”

(See Police Report.)

       36.     On information and belief, following the Perryton Police Department’s

investigation, Defendant Pshigoda pleaded guilty to a class A misdemeanor of assault with bodily

harm and was sentenced to six-months of probation. On information and belief, Defendants M.S.

and J.C. have not been criminally charged.




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   I. Defendant PISD’s Wholly Inadequate Investigation and Slap-on-the-Wrist
      Punishment.

       37.     Defendant PISD performed a cursory and wholly inadequate investigation, which

resulted in nothing more than a slap on the wrist to the perpetrating teammates.

       38.     On information and belief, Defendant PISD has not prepared a written report

regarding its investigation.

       39.     The only punishments meted out were Defendant Pshigoda’s ten-day in-school-

suspension, Defendant M.S.’s five-day in-school-suspension, and Defendant J.C.’s three-day in-

school-suspension, during which the Defendants worked in a classroom apart from other students

and could not participate in athletic scrimmages or games.

       40.     The PISD Athletic Department’s Athletic Code of Conduct waxes poetic about

holding student athletes to a higher standard than non-athlete students, the high importance of an

athlete’s “character,” and the serious consequences of a student athlete not meeting this high

standard.

       41.     Defendant PISD’s 2020−2021 Athletic Code of Conduct states:

       “Athletes will be expected to take personal responsibility for their actions and
       will be held accountable for their actions. We will be disciplined in: actions, work
       habits, personal/collective responsibilities and communication.”

(Emphasis added).

       42.     And further states:

       “Perryton ISD makes athletic activities available as an extension of the regular
       school program, with this important difference: participation in the regular
       curriculum is a right afforded to each student, while participation in the
       athletic program is a privilege that carries additional expectation for
       acceptable conduct. Students engaging in athletic activities represent not only
       themselves, but Perryton ISD as a whole. Student-athletes are not only recognized
       on the playing fields or courts but also in the community as Rangers/Rette. For this
       reason, their behavior must be exemplary and reflect the finest attributes of
       Perryton ISD at all times and places. We will develop athletes and a product that


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       give Perryton ISD and the community a since [sic] of pride in what a Ranger/Rette
       stand for.”

(Emphasis added).

       43.     The Athletic Code explains that the three bases of the athletic program are

“Character” “Class” and “Effort.” Regarding “Character,” the Athletic Code states the athletic

program will teach student athletes “character qualities that will serve them in all phases of their

life…Character will define who our programs are and what they become…Athletes will be held

accountable for their character.”

       44.     The Athletic Code warns that there are no excuses for bad behavior: “[f]ailure to

meet expectations…for any or all of these [bases, including Character,] by athletes or parents could

result in removal from a sport or athletic program,”; the athletic program’s “philosophy doesn’t

allow for any excuses for anyone at anytime [sic].” (Emphasis added).

       45.     The Athletic Code gives the head coach authority to “suspend an athlete within

their season as a disciplinary action . . . . A suspension due to a Major Infraction of Athletic Policy

such as . . . criminal charges . . . carries over from one sport to the next if the suspension has not

been completed.”

       46.      The Athletic Code described “PROHIBITED CONDUCT” (capitalization in

original) as including fighting and/or assault and hazing and/or bullying.

       47.     Where, as here, there are multiple assaults that constitute “Major Violations”, the

Athletic Code provides that “the student-athlete and the athlete’s parent/legal guardian will be

notified of the violation and the disciplinary action. If the athlete and/or parents will not agree to

the disciplinary action set forth the athlete could be subject to further punishment or removal from

the sport and/or athletic program.”

       48.     As to social media, the Athletic Code warned:



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       “Facebook, Twitter and other social media sites have increased in popularity
       globally, and are used by the majority of student-athletes in one form or another.
       Student-athletes should be aware about inappropriate pictures, videos, and
       comments affect the perception of the student-athlete, the athletic department and
       Perryton ISD. This can also be detrimental to the student-athlete’s collegiate and
       employment future. Social Media could be considered proof of a rule's violation.”

       49.      Despite the criminal conduct constituting “Major Violations,” on information and

belief, the PISD Athletic Department imposed no sanction on Defendants Pshigoda, M.S., or J.C.,

in clear conflict with its own written policy.

       50.     As troubling, if not more, is that in the months and years following the criminal

assaults PSID officials have repeatedly lauded Defendant Pshigoda for his character.

       51.     School counselor Paige Waide (“Counselor Waide”) advocated for Defendant

Pshigoda (i) to be inducted into the PHS National Honor Society, for which two qualifications are

character and citizenship and (ii) to be named “Best Citizen”.

       52.     In May 2022, PHS gave Defendant Pshigoda the basketball team’s “Fighting Heart”

award, which is intended to recognize character.

       53.     In December 2022, AD Harberthur, in a Twitter post, lauded Defendant Pshigoda

for his character, congratulating him on receipt of a college scholarship offer: “Awesome! Great

player! High Character!”

       54.     Much as Penn State did when it ignored and protected pedophile football coach

Sandusky, and Baylor when it failed to take seriously allegations of multiple sexual assaults by

football players, Defendant PISD chose to protect its institutional reputation and the perpetrators,

rather than punish the perpetrators, remediate the harm caused to the victim, and change the

culture, policy and practice allowed and encouraged the sexual assaults.

       55.     The obstinate refusal of PISD to condemn the assaults or reform it’s culture, while

circling the wagons to laud the primary perpetrator for his “character,” reflects a dismissive,



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“institution-first” attitude expressed by Mr. Pshidgoda, Board Member Vela, AD Haberthur, and

other school officials to B.C., his parents, and the police department investigator with the mantras

“it’s just boys being boys”, “let’s move on”, and “Ranger Pride Never Dies”.

 J. Retaliation Culminating in Denial of 2022−2023 Transfer Requests.

       56.     Defendant PISD also engaged in gaslighting, seeking to deflect responsibility by

blaming B.C. and his parents. Such conduct constitutes blatant Title IX retaliation—taking

punitive action in response to a Title IX complaint. Defendant PISD’s retaliation is ongoing and

has taken multiple forms.

       57.     Hardly a day has gone by since the assaults that B.C. and/or his younger brother

hear shameful, hurtful, and slanderous statements from other students, and even more troubling,

adults. Their classmates told them their transfer requests would be denied. B.C. was called a snitch,

liar, alcoholic and drug abuser, and homosexual. He was accused of drinking with a teacher and

enticing other students to go to the teacher’s house. These false and vicious rumors followed B.C.

to his new school in Follet. There, the rumor is that B.C. is at a new school because he raped a boy

in Perryton.

       58.     In October of 2022, the PHS cross-country team yelled obscenities at B.C. from

their bus and heckled him at a cross-country race. More recently, a group of PISD students attended

a Follett football game to heckle B.C. The Follett principal kicked the PISD students out of the

stadium and subsequently called Defendant PISD to report the incident. Nonetheless, the same

group of PISD students later attended a Booker basketball game to heckle B.C. Just recently, on

or about January 26, 2023, a group of B.C.’s former PHS classmates added B.C. to a Snapchat

group. Members of the Snapchat group then sent the group messages stating “F*ck a n****a

named [B.C.]” and “Let’s sue the school again [B.C].”




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       59.     Constant, organized, ongoing student attacks of this sort could not happen without

implicit or explicit school sanction and support.

       60.     Neither Counselor Waide nor counselor Valerie Merkel, ever checked in with B.C.

concerning the abuse, even though it is now well known that sexual abuse can and very often does

cause serious, immediate, and lasting emotional and psychological harm, especially when

perpetrated against a minor.

       61.     At the end of the 2022 school year, B.C. requested to meet AD Haberthur. B.C. told

AD Haberthur about the continued harassment and the emotional toll it was taking on him. AD

Haberthur dismissed B.C.’s plea for help, telling B.C., “it’s time you forget it and move on.”

       62.     To continue as a PISD transfer student, a student must apply and be approved each

school year. B.C. and his younger brother applied and received approval in the summer of 2021 to

continue as transfer students in the 2021−2022 school year. Specifically, on August 5, 2021, per

the PISD transfer policy at that time, the Superintendent approved both transfer applications.

       63.     On or about May 9, 2022, B.C. and his younger brother applied to transfer for the

2022−2023 school year. As transfer students at Perryton schools, B.C. and his brother were model

students, ranking fourth and second in their classes respectively. They received no disciplinary

action during their time at PISD, and had excellent attendance records. In short, they met or

exceeded all criteria for transfer set forth in Defendant PISD’s written transfer policy.

       64.     For instance, the “Application for Transfer for a Non-Resident Student 2022–23

School Year” provided in relevant part:

       “The student must maintain acceptable levels of attendance and compliance with
       District rules and regulations, including the Student Code of conduct, throughout
       the entire school year. Acceptable levels are defined as:




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             “a. Attendance that does not place the student at risk of losing credit under
             Education Code 25.092 or require the District to warn the parent or the student
             of truancy proceedings under Education Code 25.095; and

             “b. Compliance with the District’s rules and regulations, including the Student
             Code of Conduct, such that offenses result in removal to a disciplinary
             alternative education program (DAEP) or expulsion, and no more than 2
             referrals are made within any grading period for other misconduct.”

       65.       The Application further provided:

       “The district will review student records relating to attendance, academics,
       discipline (i.e. expulsion, DAEP placement, etc.) and special services (i.e. IEP, GT,
       ESL, bilingual, 504, or dyslexia)…

       ***

       “Students who transfer into the District must follow all rules and regulations of the
       District including, but not limited to, District policies and regulations; the Student
       Code of Conduct; the Student Handbook; and attendance and grade requirements.
       Failure to fulfill any of these responsibilities may result in rejection of the transfer
       request for the following year.”

       66.      Defendant PISD’s “District Innovation Renewal Plan of 2022” stated, “In

approving transfer requests, the student’s disciplinary history, work habits, and attendance records

are also evaluated.”

       67.      On June 6, 2022, the PISD School Board voted to amend the transfer policy: (1) to

usurp from the superintendent or his designee (usually a principal) the authority to approve

transfers; and (2) to remove all factors to be considered in considering transfers, including a

student’s disciplinary history and attendance records.

       68.      Specifically, the School Board revised the “Authority” provision of the policy as

follows (bold-faced words were added and stricken words deleted): “The Board retains the

authority to Superintendent is authorized to accept or reject any transfer request and shall take

provided that such action is without regard to race, religion, color, sex, disability, national origin

or ancestral language.”



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       69.      The School Board also deleted the following provision concerning factors for

consideration: “Factors: In approving transfers of students who are not children of District

employees, the Superintendent or designee shall consider availability of space and instructional

staff and the student’s disciplinary history and attendance records.”

       70.      The School Board further deleted the following sentence under the heading

“Transfer Agreements:” “Violation of the terms of the [written transfer agreement] may result in

a transfer request not being approved the following year.”

       71.      At the same June 6, 2022 meeting, immediately after changing the policy, the

School Board exercised its new “authority” to deny B.C.’s and his brother’s transfer applications,

without (i) considering any criteria set forth in the 2022−2023 Transfer Application or criteria set

forth in the pre-amendment Transfer Policy (on which B.C. and his parents relied in applying for

transfer), or (ii) considering the support of the administration, including Principal Sproul and

Junior High School Principal Sandy Wheeler.

       72.      School Board Member Vela, whose son was questioned by the Perryton Police

Department during its investigation of the sexual assaults, and who attended PHS as a student with

Mr. Pshigoda and Athletic Director Haberthur, voted to deny B.C. and his brother’s transfer

applications.

       73.      At the same meeting, the School Board unanimously approved transfers for the nine

other applicants.

       74.      On or about June 7, 2022, the School Board issued a letter giving B.C. and his

brother formal notice of the denial of their transfer applications. The letter gave no explanation for

the denials. The letter was written on PISD letterhead and signed by School Board President Wes

Beal. The letter read in pertinent part: “After review and careful consideration of your application,




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the Perryton ISD Board of Trustees has voted to deny your transfer requests at this time.” The

same day, Plaintiff emailed Defendant PISD and requested the School Board identify the grounds

for the denials. Plaintiff followed up several times but has received no explanation.

       75.     Several days after the Board’s denial of B.C. and his brother’s transfers, on or about

June 9, 2022, Defendant M.S.’s father spoke about the denials on his KXDJ radio show. In that

broadcast, Defendant M.S.’s father made several false statements, including that B.C.’s parents

had a history of district jumping, and that the police investigated and found Defendant Pshigoda

and others’ (including Defendant M.S.’s) conduct was not criminal. (Contra Police Report

attached).

       76.     Troubling too is that Defendant M.S. father claimed that unidentified School Board

“sources” fed him this information, clear evidence that one or more School Board members

discussed the transfer applications outside of a School Board meeting. Such conduct could violate

the Open Meetings Act or student privacy rights.

       77.     On or about August 30, 2022, the School Board continued its retaliatory action by

rejecting B.C.’s grievance (essentially an appeal) of the June denial of the transfer applications.

       78.     At a January 26, 2023 meeting, the Board removed any doubt about its retaliatory

intent in denying the transfers, by approving one and denied two transfers while employing several

elements of the policy it repealed in the June 2022 meeting. At that January 26, 2023 meeting,

Assistant Superintendent Dr. Maria Gomez-Rocque recommended that the Board deny two of the

transfer applications because of the students’ excessive absences and tardies (grounds set forth in

the old, stricken written policy). The Board followed the administration’s recommendation,

approving one and denying two transfers.




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   J. The Harm Caused by the Sexual Assaults and Retaliation.

          79.   The sexual assaults and their aftermath had a devastating effect on B.C. and his

family.

          80.   B.C. has suffered from insomnia, anxiety, difficulty trusting others, lack of appetite,

lack of concentration, anger, extraordinary stress, and depression. B.C. feels isolated, helpless, and

vulnerable. He now takes medication for depression and anxiety. B.C.’s brother has experienced

many of the same symptoms.

          81.   The quality of B.C. and his brother’s education has drastically decreased because

they now attend a much smaller, 1A school that does not have the educational opportunities of a

4A school like PISD. For instance, there is no pull-out GT, no AP, no pre-AP, no honors, fewer

electives, and no robotics program. B.C.’s parents have experienced stress in their jobs, lost

business, and experienced serious depression and anxiety due to the sexual assaults and their

aftermath.

          82.   As a result of the conduct described herein, B.C. has been forced to expend

substantial sums, including costs of therapy and medication, and it is anticipated these costs will

continue to be incurred well into the future.

                                  VI.    CLAIMS FOR RELIEF

   A. FIRST CLAIM FOR RELIEF: ASSAULT AGAINST DEFENDANT PSHIGODA

          83.   Plaintiff incorporates all prior and subsequent paragraphs.

          84.   On or about February 21, 2021, Defendant Pshigoda intentionally and recklessly

caused physical contact with B.C. three times in the PHS locker room when Defendant Pshigoda

knew or should reasonably have known B.C. would consider the contact offensive or provocative.




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See Martinez v. Pluma as Next Friend of A.C.V., No. 01-19-00411-CV, 2020 WL 7391699, at *2

(Tex. App.—Houston [1st Dist.] Dec. 17, 2020, no pet.).

       85.     The assault caused B.C. physical pain and suffering as well as great embarrassment

and emotional distress for which he is entitled to actual and punitive damages.

   B. SECOND CLAIM FOR RELIEF: PRODUCTION OF CHILD PRONOGRAPHY IN
      VIOLATON OF 18 U.S.C. SECTION 2255 AGAINST DEFENDANTS PSHIGODA,
      COACH WATSON, M.S., AND J.C.

       86.     Plaintiff incorporates all prior and subsequent paragraphs.

       87.     On February 21, 2021, in the PHS locker room, Defendants Pshigoda, Coach

Watson, M.S., and J.C. together and separately employed, used, persuaded, induced, enticed, and

coerced B.C., a minor, to engage in sexually explicit conduct for the purpose of producing a visual

depiction of such conduct, all in violation of 18 U.S.C. Section 2251(a).

       88.     On or about February 21, 2021, in the PHS locker room, Defendants Pshigoda and

Coach Watson, having custody and control over B.C., a minor, knowingly permitted and assisted

B.C. and Defendant Pshigoda, both minors at the time, to engage in sexually explicit conduct for

the purpose of producing a visual depiction of such conduct, all in violation of 18 U.S.C. Section

2251(b).

       89.     Defendants Pshigoda, Coach Watson, M.S., and J.C. intended that the visual

depictions be transported in the United States by means or facility of interstate or foreign

commerce, to wit, a cellphone and social media posting. Defendants M.S. and J.C. transported one

or more of the three visual depictions in the United States by means or facility of interstate or

foreign commerce, to wit a cellphone and social media.




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   C. THIRD CLAIM FOR RELIEF: DISTRIBUTION OF CHILD PORNOGRAPHY IN
      VIOLATION OF 18 U.S.C. SECTION 2252A AGAINST DEFENDANTS M.S. AND
      J.C.

       90.     Plaintiff incorporates all prior and subsequent paragraphs.

       91.     In or about February or March 2021, in Perryton, Texas, Defendants M.S. and J.C.

knowingly transported by means or facility of interstate and foreign commerce which affected

interstate or foreign commerce, to wit, by a cellphone and/or computer, depictions of the three

sexual assaults, which constitute child pornography as defined 18 U.S.C. Section 2256 (8), in

violation of 18 U.S.C. Section 2252A(a)(1).

       92.     In or about February or March 2021, in Perryton, Texas, Defendants M.S. and J.C.

knowingly received and distributed the child pornography described herein using means and

facility of interstate and foreign commerce, to wit, a cellphone and/or computer, all in violation of

18 U.S.C. Section 2252A(a)(2).

       93.     In or about February 2021, in Perryton, Texas, Defendants M.S. and J.C. knowingly

possessed and knowingly accessed with intent to view a video depiction of the child pornography

described herein that had been transported by means and facility of interstate or foreign commerce

and in or affecting interstate or foreign commerce by means of a cellphone or computer, all in

violation of 18 U.S.C. Section 2252A(a)(5).

   D. FOURTH CLAIM               FOR     RELIEF:      TITLE      IX      VIOLATION       AGAINST
      DEFENDANT PISD

       94.     Plaintiff incorporates all prior and subsequent paragraphs.

       95.     Defendant PISD receives federal funds.

       96.     Defendant PISD received actual notice of the sexual assaults by at least June 2021

and formal notice via letter from Plaintiff’s counsel in January 2023.




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       97.     Defendant PISD had actual knowledge of the sexual assaults by virtue of Defendant

Coach Watson being present and able to prevent or stop the abuse.

       98.     It was Defendant PISD’s practice and culture and de facto policy to allow and

condone sexual hazing, assault, abuse, and harassment of student athletes.

       99.     Defendant Watson, a coach at PISD, had the authority and ability to prevent, and

once begun to stop the abuse.

       100.    AD Haberthur is an alumnus of PHS, an assistant coach at PHS from 1998 to 2004,

and since 2020, the PHS Athletic Director.

       101.    Both Defendant Coach Watson and Athletic Director Haberthur were aware of the

longstanding tradition of sexual hazing and were responsible for stopping it. They utterly failed to

stop it, and in fact condoned it.

       102.    AD Haberthur was responsible for holding the culpable students and Defendant

Coach Watson accountable, but failed to do so. No disciplinary action was taken, contrary to the

PHS Athletic Department’s holier-than-thou public statements emphasizing the importance of

student athletes demonstrating good character and the disciplinary consequences of failure to do

so.

       103.    The sexual assaults occurred in the PHS locker room shortly after practice. All

harassers, including Defendants Pshigoda, M.S., J.C., and Coach Watson, as well as the other

present basketball team members, were under Defendant PISD’s control at the time.

       104.    The sexual assaults constitute sex-based harassment. The sexual assaults included

dry humping B.C.’s face and poking a sharp object into B.C.’s anus. The sexual assaults were

videotaped, and the videos were distributed on social media.




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         105.      The sex-based harassment was so severe, pervasive, and objectively offensive that

it barred B.C.’s access to an educational opportunity or benefit.

         106.      Defendant PISD was deliberately indifferent to the sex-based harassment, as shown

by

            a. its de facto policy, practice, and culture of allowing and condoning sexual hazing,

            b. AD Haberthur’s and Defendant Coach Watson’s awareness of this de facto policy,

                   practice, and culture,

            c. Defendant Coach Watson’s presence and complicity in the sexual assaults, and

            d. Defendant PISD’s utter failure to (i) conduct a Title IX investigation; (ii)

                   meaningfully discipline the perpetrators involved or Defendant Coach Watson; (iii)

                   take steps to remediate the harm done to B.C.; or (iv) change its de facto policy,

                   practice, and culture to prevent such sexual assaults from occurring again.

     E. FIFTH CLAIM FOR                     RELIEF:   TITLE      IX    RETALIATION          AGAINST
        DEFENDANT PISD

         107.      Plaintiff incorporates all prior and subsequent paragraphs.

         108.      Defendant PISD receives federal funding.

         109.      Defendant PISD received actual notice of the sexual assaults in June 2021 and

formal notice via letter from Plaintiff’s counsel in January 2023.

         110.      Plaintiff engaged in protected activity when he complained to Defendant PISD

about:

                a. the sexual harassment;

                b. the school’s failure (a) to conduct a meaningful investigation or (b) to take

                   meaningful disciplinary action or any action at all against the students and

                   coach involved;



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               c. the gaslighting, slander, and blackballing of B.C. and his family by PISD

                  officials and School Board members; and

               d. the denial of (a) B.C. and his brother’s transfer requests, and (b) grievance

                  of the denials.

        111.      The gaslighting, slander, blackballing, refusal to provide B.C. with any therapeutic

support or otherwise to remediate the harm caused him, and denial of B.C.’s transfer request and

grievance of same, all constitute adverse action.

        112.      The protected activity was the but-for cause of the adverse action, that is, the

adverse action was taken in retaliation for the protected activity.

        113.      The School Board and administrators knew of B.C.’s protected activity before

taking adverse action.

        114.      Retaliatory motive is shown by, among other things: (i) the School Board’s

amendment of the policy regarding transfers to strip it of any mention of a student’s academic

performance, overall behavior and attendance, made just before and in the same meeting in which

Defendant PISD denied B.C. and his brother’s transfer requests; (ii) the School Board’s failure to

consider or following school administrator and teacher recommendations that the transfer

applications of B.C. and his brother be approved; (iii) the fact that several other 2022−2023 school

year transfer requests were granted and none denied at that meeting; and (iv) the Board’s reversion

to prior practice of considering at it recent review of transfer student applications.

        115.      The amendment of Defendant PISD’s written transfer policy, which strips all

factors that B.C. and his brother clearly relied on and met constitutes an official PISD policy and

is itself retaliatory conduct that resulted in denial of the transfer requests (an adverse action).




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       116.     Defendant PISD demonstrated deliberate indifference through the adverse

retaliatory actions and inactions described herein, especially given its knowledge that sexual

hazing, assault, abuse, and harassment was part of the PHS Athletic Department’s culture, custom,

and practice for many years.

                               VII.    PRAYER FOR RELIEF

       Plaintiff prays for the following relief:

          1.    As against Defendants Pshigoda, M.S., J.C., Coach Watson, damages for the

       emotional distress, pain and suffering in an amount to be determined at trial but in no event

       less than $2 million.

          2.    As against Defendants Pshigoda, M.S., J.C., and Coach Watson liquidated damages

       in the amount of $450,000 from each, for the production and/or distribution of the three

       child sex abuse videos, or damages in amount to be proven at trial.

          3.     As against all Defendants, out-of-pocket costs in an amount to be determined at

       trial.

          4.    As against Defendant Pshigoda exemplary and punitive damages in an amount to

       be determined at trial.

          5.    As against all Defendants, reasonable attorneys’ fees, and costs.

          6.    Any and all additional relief the Court deems fair and just.

                                               Respectfully submitted,

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